                    UNITED STATES DISTRICT COURT
                               OF THE
                 MIDDLE DISTRICT OF NORTH CAROLINA

BRADY D. STUBBS                )            CIVIL DOCKET NUMBER:
                               )
     Plaintiff,                )
                               )
vs.                            )
                               )                 COMPLAINT
NORFOLK SOUTHERN RAILWAY )                  JURY TRIAL DEMANDED
COMPANY,                       )
                               )
     Defendant.                )
______________________________ )


      COMES NOW Plaintiff, Brady D. Stubbs, by and through his attorneys,

Daniel R. Francis, and Timothy A. Sheriff of the firm Crumley Roberts, LLP for

his Complaint against the Defendant, Norfolk Southern Railway Company

(hereinafter “Norfolk Southern”), states:

      1.     The Plaintiff is informed, believes, and therefore alleges that

Defendant, Norfolk Southern, is now and was at all times hereinafter mentioned, a

foreign corporation duly organized and created with a principal place of business

in Norfolk, Virginia, authorized and conducting business in Linwood, Davidson

County, North Carolina and was at all times hereinafter mentioned a common

carrier in interstate transportation and commerce by railroad. Defendant can be

served at it registered agent who is Corporation Service Company located at 327

Hillsborough St., Raleigh, NC 27603.




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      2.     At all times pertinent hereto Plaintiff resided in Gold Hill, North

Carolina.

      3.     At all times pertinent hereto Plaintiff’s home terminal was Linwood

Railroad Yard, Linwood, Davidson County, North Carolina.

      4.     At all times pertinent hereto, Plaintiff was employed by Defendant as

a utility brakeman and was engaged in the furtherance of Defendant’s business

interests and movement of freight in interstate and foreign commerce within the

meaning of the Federal Employers’ Liability Act, 45 U.S.C. §51-60.

      5.     The respective rights and remedies of the Plaintiff and Defendant are

controlled by the Federal Employer’s Liability Act, 45 U.S.C. §51-60 in that

Plaintiff was an employee of the Defendant whose job duties closely and

substantially affected interstate commerce at the time of the injuries alleged herein.

      6.     That Plaintiff was employed by Defendant as a utility brakeman and

at times as a Locomotive Engineer from approximately 1999 to the present, and his

work substantially affected interstate commerce.

      7.     That on or about April 30, 2017 while employed as a utility brakeman

for Defendant Norfolk Southern, and during the course of his employment as a

utility brakeman for Defendant Norfolk Southern in Linwood, North Carolina,

Plaintiff was lining a switch, as instructed and trained by Defendant, for the

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forwarding track and during the physical procedure to move the switch the handle

in its descending movement suddenly stopped, stuck in that position and would not

move.        At that moment, Plaintiff felt a pop in his left shoulder followed by

immediate pain and limitation in his left shoulder, arm, and neck.

        8.      The Norfolk Southern Linwood railroad yard rail switch was

defective, unsafe, inefficient, unsafely maintained and therefore in violation of

Federal Railroad Administration (“FRA”) regulations.

        9.      Plaintiff states that his injuries and damages resulted in whole or in

part from the negligent acts and/or omissions of the Defendant or their officers,

employees or agents in one or more of the following:

                a. Defendant failed to provide Plaintiff with a reasonably safe place
                   to work;

                b. Defendant failed to provide reasonably safe conditions for work;

                c. Defendant failed to provide reasonably safe methods of work;

                d. Defendant failed to provide a properly maintained and efficient
                   track switch;

                e. Defendant failed to safely maintain its yard switch;

                f. Defendant failed to warn Plaintiff;

                g. Defendant failed to provide adequate help or training; and/or

                h. Defendant failed to comply with FRA regulations for maintenance
                   of its switch.
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            i. Defendant failed to comply with 49 C.F.R. 213.7 requiring
               Defendant to have a qualified employee to perform track
               inspections and maintain the required records documenting the
               Defendants compliance with FRA Regulations: and/or

            j. Defendant failed to comply with 49 C.F.R. 213.13 and take into
               account the amount of movement when the rail is loaded and the
               train is on the track when making its measurements to ensure the
               switch was reasonably safe and worked as intended which
               constitutes negligence per se and prohibits any fault of plaintiff
               from reducing the verdict.; and/or

            k. Defendant failed to comply with 49 C.F.R. 213.103 as the switches
               ballast was not structurally solid and did not have adequate
               drainage which contributed to the switches failure and constitutes
               negligence per se and prohibits any fault of plaintiff from reducing
               the verdict.; and/or

            l. Defendant failed to comply with 49 C.F.R. 213.135 as the switch
               stand and connecting road were not securely fastened and operable
               without excessive lost motion which constitutes negligence per se
               and prohibits any fault of plaintiff from reducing the verdict.


      10.   Defendant knew, or, in the exercise of proper diligence, should have

known of the likelihood of injury from the foregoing acts and/or omissions.

      11.   As a result, in whole or in part, of the aforementioned conduct of the

Defendant, Plaintiff has suffered serious painful and permanent injuries to his left

shoulder, his neck with radiating pain into the arm; severe neck injury including

herniated discs, and was caused to undergo cervical neck surgery including a

multiple level fusion and disc replacement, medical treatment, injections,
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diagnostic tests, therapy, MRI’s and x-rays and will require future medical

treatment.

      12.    Plaintiff is at significant risk of further neck injury including nerve

damage, spinal cord compression, continued radiating pain and limitations and is

disabled being rendered unable to return to his tradecraft or other industrial labor.

      13.    Plaintiff has lost past and future wages, fringe benefits and will in the

future lose further such wages and fringe benefits; Plaintiff has expended or

obligated himself for necessary and reasonable medical expenses and will be

caused to expend further such sums for future medical treatment, and possibly

surgery.

      14.    Plaintiff earned significant wages and benefits while working for the

Railroad, and as a result the railroads negligence has lost yearly wages in excess of

$75,000.00, and the benefit off all future wage increases, he has lost health and

welfare benefits in excess of $20,000.00 per year for him and his family, lost 401k

contributions and contributions towards his Railroad Retirement Board retirement

annuity. Damages exceed $ 1,900,000.00.

      15.     Plaintiff has suffered great economic damages. Plaintiff is no longer

able to enjoy his tradecraft, has suffered great physical and mental injuries, has

struggled with the limitations placed on him, has struggled with the mental anguish

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caused by the injuries and his inability to do the hobbies, work and vocation he

enjoyed and was satisfied performing.

      16.   Plaintiff has suffered pain and will in the future have pain and

suffering as a result of Defendant’s negligence. Plaintiff’s ability to work, labor,

and enjoy the normal pursuits of life has been impaired and lessened all to

Plaintiff’s damage.

      WHEREFORE, Plaintiff, Brady D. Stubbs, prays for Judgement against the

Defendant Norfolk Southern for a sum fair and reasonable under the

circumstances, together with his costs herein expended and for other such relief as

the Court shall deem just and proper.

Respectfully submitted May 21, 2018.

                                             /s/ Daniel R. Francis
                                             Daniel R. Francis #44131
                                             /s/ Timothy A. Sheriff
                                             Timothy A. Sheriff #49516
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